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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


LANDESK SOFTWARE, INC., a Delaware
corporation,
                                               JOINT STATUS REPORT
and
                                               Case No. 2:16-cv-00400-DN
CRIMSON CORPORATION, a Delaware
corporation,                                      Judge David Nuffer

       Plaintiffs,
vs.

WAVLINK TECHNOLOGY LTD., a
Delaware corporation,

       Defendant.
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         Pursuant to the Court’s Status Report Order (Dkt. 33), Plaintiffs, LANDesk Software and

Crimson Corporation (“Plaintiffs”) and Defendant Wavlink Technology Ltd. (“Defendant”)

(Plaintiffs and Defendant collectively the “Parties”) hereby notify the Court that the parties have

conferred and have reached agreement on material terms for settling the present case. The parties

are in the process of formalizing their agreement in a written settlement agreement. Because

Defendants have principles in China and Plaintiffs recently went through a corporate acquisition,

the negotiations have moved slower than anticipated. However, the parties expect to have a final

agreement that will result in a dismissal of the case within 60 days. The parties therefore request

that the Court suspend all deadlines for 60 days while the parties formalize and finalize their

agreement.

         Dated January 8, 2018.

Respectfully submitted by,

STRONG & HANNI                                       HOLLAND & HART, LLP

/s/ Casey W. Jones                                   /s/ Mark A. Miller
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/s/ Yanling Jiang
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(signed with permission of
Defendant’s counsel)




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